Case: 25-1354 Document: 3 Filed: 03/04/2025 $4¥PAges: 1
APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 25-1354

Short Caption: United States v. Steven Anderegg

Clear Form

To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information

in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use

N/A for any information that is not applicable if this form is used.

[] PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND

INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1) The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure

information required by Fed. R. App. P. 26.1 by completing item #3):

Steven Andereag _

(2) The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or

before an administrative agency) or are expected to appear for the party in this court:
Hurley Burish, S.C.

(3) If the party, amicus or intervenor is a corporation:
i) Identify all its parent corporations, if any; and
N/A
ii) list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:
N/A
(4) Provide information required by FRAP 26.1(b) — Organizational Victims in Criminal Cases:
N/A
(5) Provide Debtor information required by FRAP 26.1 (c) 1 & 2:
N/A

Attorney’s toe =e, f Date: March 4, 2025
es |
Attorney’s Printed Name: Joseph A. Bugni

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d). Yes No []

Address: Hurley Burish, S.C.

33-E. Main St. Suite 400, Madison, WI 53703

Phone Number: 608-257-0945 Fax Number: 608-257-5764

E-Mail Address; Jbugni@hurleyburish.com

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